            FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
                 _____________________________

                        No. 1D2023-2189
                 _____________________________

JUSTIN YOUNG,

    Appellant,

    v.

SCRUGGS, CARMICHAEL &amp;
WERSHOW, P.A., a Corporation
and LOFTHOUSE, LLC, a Limited
Liability Company,

    Appellee.
                 _____________________________


On appeal from the County Court for Alachua County.
Kristine J. Van Vorst, Judge.

                       August 23, 2024




PER CURIAM.

    AFFIRMED.

ROBERTS, WINOKUR, and LONG, JJ., concur.
                _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Markus A. Sermons of Sermons Law, PLLC, Orange Park, for
Appellant.

Kirstin Jurecko Megraw of Scruggs, Carmichael &amp; Wershow, P.A.,
Gainesville, for Appellee Lofthouse, LLC.




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